
80 So. 3d 415 (2012)
Betty Jayne HOBBS, Appellant,
v.
STATE of Florida, Appellee.
No. 1D11-2914.
District Court of Appeal of Florida, First District.
February 14, 2012.
L. Lee Lockett, Jacksonville, for Appellant.
Pamela Jo Bondi, Attorney General, and Samuel A. Perrone, Assistant Attorney General, Tallahassee, for Appellee.
PER CURIAM.
The appellant challenges an order denying her petition to seal her criminal record. The appellant contends, and the State concedes, that the trial court abused its discretion by failing to provide a sufficient reason for the denial based on the facts and circumstances of her individual case. We agree and reverse and remand for reconsideration of the petition. See *416 Anderson v. State, 692 So. 2d 250 (Fla. 3d DCA 1997).
REVERSED and REMANDED.
LEWIS, ROBERTS, and RAY, JJ., concur.
